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lN THE UNITED STATES DISTRICT COURT []5 JUN .._'] PH 2: 51

WESTERN DISTRICT oF TENNESSEE
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DONALD E. SHERMAN AND
RICHARD A. MATTA, JR. PLAINTIFFS

VS. DOCKET NO. 04-2646-B V

TESCO EQUIPMENT, LLC ANI)
TESCO HI-LIFT, INC., DEFENDANTS

 

ORDER EXTENDING DISCOVERY DEADLINES

 

CAME ON FOR HEARING upon the Plaintit`t`s’ Motion for Extension of Discovery
Deadline, and there being no defense counsel ot_`record, the Court being fully advised in the
premises does find the Motion to be Well taken and therefore sustained

IT IS THEREFORE, ORI)ERED AND ADJUDGED that the discovery deadline
herein be extended from the original date of June 2, 2005 up to and includingM"~:7 2005.

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so oRDERED this the Z_ day OfJLm@, 2005.

»©L¢W /K %€WO

HONORABLE DIANE VESCOVO
U.S. MAGISTRATE JUDGE

 

This document entered on the docket sheet inl?mpliance
with Ru\e 58 and/or 79(a) FHCF on #“ '

 

 

 

June 8, 2005 to the parties listed.

Notice of Distribution

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Honorable J_ Breen
US DISTRICT COURT

